JS44 (Rev 06/17)               \_\         ~Case 2:18-cv-04708-HB
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                                                                          Filed 11/01/18
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The JS 44 c1vtl cover sheet and the mformation l t                m ne1thalr re . ce nor supplement the filing and service of pleadm&s or other papers as reqmred by law, except as
proVJded by local rules of court This form. app                 Jud1c1al Co       nee of the Umted States m September 1974, is reqmred for the use of the Clerk of Court for the
purpose of imtlatmg the CIVIi docJci;t sheet. (SEE INST~U~TI_ONS,O~!f.:.......    GE OF rms FORM)

I. (a) PLAINTIF.FS                                                                                                                        DEFENDANTS                                                                            4708
MATIHEW PERRI                                                                                                                          GUARDIAN SOLUTIONS, INC.

     (b) County of Residence of First LJSted Plamnff                                                        IA                            County of Residence of First Listed Defendant
                                          (EXCEPT IN US PLAINTIFF                                                                                                             (lN US PLAINTIFF CASES ONLY)
                                                                                                                                          NOTE          IN LAND CONDEMNATION CASI<.S, USE THF I .OCA TION OF
                                                                                                                                                        THE TRACT OF LAND INVOLVED


     ( C) Attorneys (Firm Name. Address. and Telephone Number)                                                                             Attorneys (If Known)

REGINALD ALLEN, ESQUIRE, 7601 CRITTENDEN STREET, F12
PHILADELPHIA, PA 19118, (215) 242-3875



,    1   I.: .S Government
             Plaintiff                                       {CJ S Government Not a Party)                                    Citizen of Tuts State                                          lncoqiorated or Pnncipal Place
                                                                                                                                                                                               of Busmess In Tuts State

,    2   {_; .S Government                                Dtverstty                                                                                                               CJ     2   Incorporaled and Pnnctpal Place
               Defendant                                    (Indicate Citizenship of Parties in Item Ill)                                                                                       of Busmess In Another State

                                                                                                                                                                      CJ 3        ,      3   Foreign Nation                                CJ6      CJ6


IV. NATURE OF SUIT (Place an "X" in One Box Only)                                                                                                                                     Chck here for Nature of Smt Code Descn tlons
              CONTRACT                                                             TORTS                                          FORFEITUREIPENALTY                                   BANKR                                   OTHER STATUTES
CJ   110 Insurance                                     PERSONAL IN.JURY                     PERSONAL INJURY                                , 625 Drug Related Seizure         CJ 422 Appeal 28 USC 158                 CJ    375 False Clarms Act
CJ   120 Marme                                    0 310 Airplane                       CJ 365 Personal Injury •                                    of Property 21 USC 881     CJ 42.3 Withdrawal                       CJ    176 Qm Tam (31 USC
:J   130 Mtller Act                               CJ 315 Arrplane Product                            Product L1ab11tty                     n 690 Other                                  28 USC I 57                               3 729(a)J
CJ   140 Negotiable Instrument                              Ltabihty                   CJ 367 Health Carel                                                                                                             n     400 State Reapportionment
CJ   150 Recovery of Overpayment                  CJ 320 Assault, I ,ibel &                      Phannaceuncal                                                               t---=R'"'O"'P"'E=R""TY""""RI=G"'HT=s~---t::i    410 Antitrust
         & Enforcement of Judgmenl                          Slander                              Personal Injury                                                              n 820 Copynghts                          ,     430 Banks and Bank.mg
 ,   151 Medicare Act                             n 330Federa1Employers'                         ProductL1ab1hty                                                              CJ 830Paient                             CJ    450Cmnmerce
 CJ  152 Recovery of Defaulted                              Liability                  '.1 368 Asbestos Personal                                                              CJ 835 Patent · AbbreVtated              ,     460 Deportation
         Student Loans                            CJ 340 Manne                                       Injury Product                                                                    New Drug Apphcatlon             ::J   470 Racketeer Influenced and
         (Excludes Veterans)                      '.1 345 Mart12e Product                            Ltabtltty                                                                CJ 840 Irademarlt                                  Corrupt Orgamzatlons
 ,   153 Recovery of Overpayment                            Ltabtltty                     PERSONAL PROPERTY _....__ _...AB=O=R--._ _ _ _ _~SOCIA==L~S=E~C~'U=R=ITY~~--t:'.J                                                  480 Consumer Credtt
         of Veteran's Benefits                    rJ 350 Motor Vehicle                 ::J 370 Other Fraud                                 , 710 Farr Labor Standards         CJ 861 HIA (I395ff)                      CJ    490 Cable/Sat TV
 ::1 160 Stockholders' Sruts                      CJ 355 Motor Vehicle                 ii 171 Truth m Lendtng                                       Act                       CJ 862 Black Lung (923)                  CJ    850 Secunt1es/Commod1t1es/
 n   190 Other Contract                                    Product L1ab1hty            CJ 380 Other Personal                               CJ 720 Labor/Management            , 863 DIWC/DIWW ( 405(g))                          Exchange
 '.j 195 Contract Product Liability               ;"') 360 Other Personal                        Property Damage                                    Relations                 ::i 864 SSID Title XVI                   ::i   890 Other Statutory Actions
 CJ  196 Franchise                                         Injury                      CJ 385 Property Damage                              , 740 Railway Labor Act            CJ 865 RSI (405(g))                      CJ    891 Agncultural Acts
                                                  , 362 Personal Injury ·                        Product Ltabdity                          CJ 751 Famtly lllld Medical                                                 CJ    893 Envrronmental Matters
                                                           Medical Ma         ce                                                                    Leave Act                1--===----..,___,,.,.....,..,,...---f CJ        895 Freedom of Infonnatton
,___ _.REAL==-P-R"'O.,,P,::E:.:R..:.TY.;;....._ _ _ _c_1"'...vIL=..:;Rl=G=H-TS-=----t-'P"-'Rl=s....o-N_ER""""P"'E""T:.::l..:.T""IO""~""S"--ICJ 790 Other Labor L1t1gat1on         FEDERAL TAX SUI s                              Act
 , 210 Land Condemnation                          , 440 Other Civil Rtghts                 Habeas Corpus:                                  CJ 791 Employee Retrrement         CJ 870 Taxes (U.S Plainttff              tJ    896 Arbitration
 CJ 220 Foreclosure                               CJ 441 Voting                        ::1 463 Ahen Detainee                                       Income Secunty Act                   or Defendant)                  :"1   899 Adrmrustrat1ve Procedure
 CJ 230 Rent I .ease & Ejectment                       442 Employment                  CJ 510 Motions to Vacate                                                               CJ 871 IRS Thud Party                              Act/Review or Appeal of
 CJ 240 Torts to Land                                  443 Housmg/                               Sentence                                                                               26 USC 7609                              Agency Dectsmn
 CJ 245 Tort Product Ltabihty                              Accommodattons              :"1 530 General                                                                                                                 CJ    950 Const1tut10nahty of
 , 290 All Other Real Property                           5 Amer w/Disabtlitles · ::1 515 Death Penalty                                              IMMIGRAilON                                                                  State Statutes
                                                           Employment                      Other:                                          CJ 462 Naturaltzatlon Appltcatlon
                                                         6 Amer w/Disabtlttles · CJ 540 Mandamus & Other                                   :J 465 Other lmrmgration
                                                                                       0 550 Civil Rtghts                                          Actions
                                                                                       , 555 Pnson Cond1tlon
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                                                                                                 Conditions of
                                                                                                 Confinement


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                                         State Court                                   Appellate Court                        Reopened                         Another D1stnct                       L1t1gat1on -                       L1t1gat10n -
                                                                                                                                                               (specify)                             Transfer                           Drrect File
                                                     Cite the U ,S. Civt! Statute under which you are fihng (Do llOt cite jllrisdktional stllllltes 11nkss t/Wersity)
            AUSE OF ACTION AMERICANS WITH DISABILITIES ACT AS AMENDED
                                                     Bnef descnptton of cause
                                                      DISABILITY DISCRIMINATION
 VII. REQUESTED IN     n CHECK IF nns IS A CLASS ACTION
      COMPLAL"'JT:        UNDER RCLE23, F.RCv.P
 VIII. RELATED CASE(S)
                        (See instructions)
       lF A."'JY                           JUDGE                                                                                                                               DOCKET NUMBER
 DATE
10/22/2018
 FOR OFFICE USE ONLY

     RECEIPT fl                           AMOUNT                                                APPi YING IFP                                              JUDGE                                       MAG JUDGE
                                 Case 2:18-cv-04708-HB  Document
                                                   UNITED           1 Filed
                                                          STATES DISTRICT   11/01/18 Page 2 of 10
                                                                          COURT
                                                        F o r EASTERN DISTRICT OF PENNSYLVANIA
                                                                                                                                       l8               4708
                                    li 0                                    DESIGN~TION FORM
                       , (to be used bytrit~ro se plamttft.to indicate the category of the case for the purpose of assignment to the appropnate calendar)

Adc!ressofPiaintiff:                       231ci\s. 22ND STREET, PHILADELPHIA, PA 19145
Address of Defendant:               1100 TOWN AND COUNTRY ROAD, STE. 1250, ORANGE, CA 92868
Place of Accident, Incident or Transaction:                                                              PHILADELPHIA
                                                           - - - --     - --------


RELATED CASE, IF ANY:

Case N u m b e r : - - - - - - - - - - -                          Judge:_                                                      Date Ternunated:     ---
CJVtl cases are deemed related when Yes is answered to any of the followmg questions:

       Is this case related to property mcluded in an earlier numbered suit pending or withm one year                              YesD
       previously terminated action in this court?

2      Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                           YesD
       pendmg or within one year previously terminated action m this court?

3.     Does this case mvolve the vahd1ty or infnngement of a a                          earher                                     YesO
       numbered case pendmg or withm one year r ·        y termmated action of this court.

4.     Is this case a second or success                                                                                            YesD
       case filed by the same md1 ual?

I certify that, to my kno edge, the within case                                                                                'thin one year previously terminated action in
this court except as n d above.

DATE __       __Jj            I-     j}JJ!f
                                                                                                                                              Attorney ID #(if applicable)




A.            Federal Question Cases:                                                         B.    Diversity J11risdiction Cases:

       I.  Indemnity Contract, Marine Contract, and All Other Contracts                       D     t.    Insurance Contract and Other Contracts
       2   FELA                                                                               D     2.    Airplane Personal Injury
       3   Jones Act-Personal Injury                                                          D     3.    Assault, Defamation
       4. Antitrust                                                                           D 4.        Manne Personal Injury
       5   Patent                                                                             D 5.        Motor Vehicle Personal Injury
       6. Labor-Management Relations                                                          D 6.        Other Personal Injury (Please specify) - - - - - - -
       7. C1v1l Rights                                                                        D 7.        Products Liab1hty
       8   Habeas Corpus                                                                      D s.        Products Liab1hty Asbestos
       9   Securities Act(s) Cases                                                            D 9.        All other Diversity Cases
       10. Social Secunty Review Cases                                                                    (Please specify) _ _ _ __
       11 All other Federal Question Cases
              (Please specify) _ _Etv1P!-OY_~ENT DISCRl!Y1LNAJl.9N



                                                                               ARBITRATION CERTIFICATION
                                                    (The effect of th ts certification is to remove the case from elig1b1ltty for arbitration )

I,           Reginald Allen, Esq.                           , counsel ofrecord or pro se plamtdI, do hereby certify·
                                         -          -
                  suant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge artd behef, the damages recoverable m this civil action case
                xceed the sum of $150,000.00 exclusive of interest and costs.

                    ehef other than monetary damages is sought
                                                                                                                                                  NDV - ·1 2018
DATE        10/22/2018                                                                                                                              77083
            --~-----------                                                                                                       - -------------
                                                                                                                                             Attorney ID #(if applicable)

NOTE. A tnal de novo will be a tnal by Jury only 1f there has been compliance wtth F.R.C.P. 38.

Civ. 609 (5120/8)
              Case 2:18-cv-04708-HB Document 1 Filed 11/01/18 Page 3 of 10
                   ij}         IN THE UNITED STATES DISTRICT COURT
                   D     FO~, THE EASTER.~ DISTRICT OF PENNSYL ANIA        v
                   '. ·-~~ cxd MANAGEMENT TRACK DESIGNATION FOR.\1
                                                                               CIVIL ACTION

                          v.                                                     18         4708
                                                                               NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See§ I :03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                             ( )

(b) Social Security -· Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                  ( )
(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.      ( )

(d) Asbestos · Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                           ( )

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                              ( )

( f) Standard Management -- Cases that do not fall into any one of the other tracks.




Telephone                            FAX Number                          E-Mail Address


(Civ. 660) 10/02




                                                                               NlJY - 1 201B
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              Mil
              ~ ~THE
                \i
                     u
                          U"TED STATES DISTRICT COURT FOR
                     THE EASTERN DISTRICT OF PENNSYLVANIA


MATTHEW PERRI                         : CIVIL ACTION NO.
2310S.22N°STREET
                                                               18         4l708
                                                                           '
PHILADELPHIA, PA 19145                : JURY TRIAL DEMANDED
     PLAINTIFF,


     v.

GUARDIAN SOLUTIONS
1100 TOWN & COUNTRY ROAD,
SUITE 1250
ORANGE, CA 92868
     DEFENDANT.


                                   COMPLAINT


                                  JURISDICTION


  1. This matter is brought pursuant to the Americans with Disabilities Act

     (ADA), the Americans with Disabilities Act as Amended {ADAA) and the

     Pennsylvania Human Relations Act {PHRA). Jurisdiction is based on 28

     U.S.C. S 1331, 28 U.S.C. S 1343, and the aforementioned federal statutes.

     Jurisdiction is also based on diversity of citizenship pursuant to 28 U.S.C. S

     1332 and the amount in controversy exceeds $75,000.00 {seventy five

     thousand dollars) exclusive of interests and costs.
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                                   PARTIES

2. Plaintiff Matthew Perri (from hereinafter "plaintiff") is a resident of the

   Commonwealth of Pennsylvania and he resides at the address in the

   caption above.

3. Defendant, Guardian Solutions, Inc. (from hereinafter, "Guardian Solutions"

   or "defendant") is a corporation and/or other business which is based in

   California and has an address as indicated in the caption above; at times

   relevant to this complaint, defendant did substantial business in the

   Commonwealth of Pennsylvania.

                    ADMINISTRATIVE AGENCY REQUIREMENTS

4. Plaintiff filed a charge of discrimination with the United States Equal

   Opportunity Commission (US EEOC) at charge number 480-2018-01732

   which was requested to be cross filed with the Pennsylvania Human

   Relations Commission. Plaintiff received right to sue letter dated August 3,

   2018, on/around August 8, 2018. (See Exhibit A).

                             FACTUAL ALLEGATIONS

5. Plaintiff began working for defendant on/around June 2015 as a real estate

   appraiser.

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6. Plaintiff received accolades for his work, to his recollection in 2015 and

   2016.

7. Defendant is in the business of appraising real estate for the purpose of

   selling and buying it for profit.

8. At all times relevant to this action, plaintiff was qualified for his position,

   and he performed his duties in no less than a satisfactory manner.

9. Plaintiff is disabled and was at times relevant to the allegations in this

   complaint, as a result of suffering from Myasthenia Gravis; this disease is an

   auto immune disease which substantially affected plaintiff's ability to

   breath, walk and chew.

10.Plaintiff's Myasthenia Gravis can be controlled with medication, however it

   would take a period of time for that medication to become maximally

   effective.

11. As a result of plaintiff's disease referred to above, he had to be

   hospitalized approximately 6 times for around 3 days or longer in/around

   early 2017, which the employer was aware of; plaintiff would keep in touch

   with his supervisor in California, via cellphone.




                                       3
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12. For a period of time in early 2017, plaintiff was unaware of the cause of

   the symptoms referred to in paragraph 9 above, before he finally was

   diagnosed with Myasthenia Gravis.

13. As a result of his hospitalizations, plaintiff was temporarily unable to go

   out to do physical appraisals, which defendant was aware of, however, he

   was still able to stay within a reasonable target of defendant's quota for the

   number of appraisals he was asked to complete.

14. On April 7, 2017, plaintiff received a cell phone call from defendant, asking

   him how long he could be in the hospital, and plaintiff responded that he

   expected to be discharged within a few days.

15. On April 10, 2017, the day after plaintiff was released from the hospital,

   defendant called him and informed him that he was fired.

16. Plaintiff alleges that he was fired based on the fact that defendant knew

   that he was chronically ill and hospitalized as described above, and found

   out from plaintiff that he suffered a debilitating disease, which it did not

   wish to accommodate going into the future, in any manner.

17. Defendant refused to engage in any form of interactive process with

                                    4
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   plaintiff, to determine if he would be able to work successfully going into

   the future and what if any reasonable accommodation he might need.

18. Defendant concluded that plaintiff would be a liability that it was not

   willing to undergo, based on his disability status.

19. As a result of his termination from employment, plaintiff suffered

   economic loss, and he also suffered severe emotional distress from being

   fired because he was disabled.

20. Plaintiff is disabled within the meaning of the ADA and the ADAA, based on

   his serious impairment (disease), Myasthenia Gravis.

21. Plaintiff could perform the essential functions of his job with and/or

   without reasonable accommodations.

22. Upon information and belief, defendant does not have in place any

   procedures to address the need to attempt to reasonably accommodate its

   employees who are or become disabled; or if it has any such policies, it

   does not abide by them.




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       FIRST CAUSE OF ACTION - DISCRIMINATION BASED ON DISABILITY IN

                   VIOLATION OF THE ADA AND ADAA

23. Plaintiff incorporates paragraphs 1-22 above as though fully set forth

   herein.

24. Defendant's acts described above, including his termination from

   employment were based on the fact that plaintiff is disabled.

25. Defendant refused to engage in an interactive process to see if it could

   accommodate plaintiff, if necessary, and any accommodation that it may

   have given, would not have created an undue hardship for it.

26. Plaintiff was able to perform the essential functions of his job, with or

   without reasonable accommodations.

WHEREFORE, plaintiff requests judgment in his favor against defendant and he

requests the following relief:

   a. Back pay;

   b. Front pay;

   c. Compensatory damages;

   d. Punitive damages;

                                    6
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   e. Reasonable Attorney's Fees and Costs;

   f. Any Other Relief the Court Deems Appropriate;

    SECOND CAUSE OF ACTION -VIOLATION OF THE PENNSYLVANIA HUMAN

         RELATIONS ACT (PHRA) BASED ON DISABILITY DISCRIMINATION

27. Plaintiff incorporates paragraphs 1-26 above as though fully set forth

   herein.

28. Defendant's acts described above, constituted disability discrimination in

   violation of the PHRA.

WHEREFORE, plaintiff requests judgment in his favor against defendant, and

he requests the following relief:

   a. Back pay;

   b. Front pay;

   c. Compensatory damages;

   d. Any Other Relief the Court Deems Appropriate.




                             Respectfully submitted,




                                    7
